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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

                       -against-
                                                            Case No. 1:23-CR-118-1 (AT)
HO WAN KWOK,

                           Defendant.


   DECLARATION OF NICHOLAS BASSETT IN SUPPORT OF RESPONSE OF
    CHAPTER 11 TRUSTEE AND GENEVER DEBTORS IN OPPOSITION TO
 DEFENDANT HO WAN KWOK’S MOTION FOR AN ORDER AND WRIT STAYING
    BANKRUPTCY CASES OR IN THE ALTERNATIVE FOR OTHER RELIEF

          1.       I am a partner at the law firm of Paul Hastings LLP, counsel to Luc A. Despins,

chapter 11 trustee (the “Trustee”) in the above-captioned chapter 11 case (the “Chapter 11 Case”)

of Ho Wan Kwok (the “Individual Debtor”). I make this declaration (the “Declaration”) in support

of the Response of Chapter 11 Trustee and Genever Debtors In Opposition to Defendant Ho Wan

Kwok’s Motion for an Order and Writ Staying Bankruptcy Cases or in the Alternative for Other

Relief (the “Opposition”).

          2.       Attached hereto are true and correct copies of the following documents:

 Exhibit                                        Description of Exhibit

     1.         Decision & Order on Motion, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct. Feb. 9,
                2022) [Docket No. 1181]

     2.         Corrected Memorandum of Decision Granting in Part Motion for Preliminary Injunction
                (Adv. Proc. No. 22-05032, Jan. 13, 2023) [Bankr. ECF No. 133]

     3.         Opinion & Order, An v. Despins, 22-cv-10062 (VEC) (S.D.N.Y. Aug. 2, 2023) [Docket No.
                29]

     4.         Opinion & Order, Gong v. Sarnoff, 23-cv-343 (LJL) (S.D.N.Y. Aug. 22, 2023) [Docket No.
                72]
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5.       Memorandum of Decision and Order Denying Motion to Dismiss Without Prejudice and
         Granting Joinder to Motion for Appointment of Chapter 11 Trustee [Bankr. ECF No. 465]

6.       Notice of Filing of Declaration of Mr. Ho Wan Kwok Concerning Invocation of 5th
         Amendment Privilege in Regard to Rule 2004 Discovery [Bankr. ECF No. 1444]

7.       Memorandum of Decision and Order Holding Individual Debtor in Contempt of Court and
         Denying Motion for Stay of Order Compelling Production [Bankr. ECF No. 2035]

8.       Order Granting Emergency Motion to Modify Preliminary Injunction [ECF No. 58 in Adv.
         Proc. No. 23-5017]

9.       Restraining Notice [filed as part of ECF No. 1-47 in Adv. Proc. No. 23-5005]

10.      September 12, 2023 Hearing Transcript (excerpts)

11.      Order Denying Motion for Relief from Judgment/Order
         [Bankr. ECF No. 1809]

12.      August 2023 Emails regarding Motion to Seal Exhibit to Mahwah Complaint



     I declare upon penalty of perjury that the foregoing is true and correct.

                                            By: /s/ Nicholas A. Bassett
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